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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division


  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, APRIL MUÑIZ,
  MARCUS MARTIN, NATALIE ROMERO,
  CHELSEA ALVARADO, JOHN DOE, and
  THOMAS BAKER,

                                 Plaintiffs,             Civil Action No. 3:17-cv-00072-NKM

  v.                                                          JURY TRIAL DEMANDED

  JASON KESSLER, et al.,

                                 Defendants.


                      PLAINTIFFS’ MOTION TO COMPEL DISCOVERY
                           FROM DEFENDANT JEFF SCHOEP

         Plaintiffs respectfully file this motion to compel discovery from Defendant Jeff Schoep,

  the former “Commander” of Defendant National Socialist Movement (“NSM”). Like many of his

  co-Defendants, Schoep’s conduct in this litigation reflects a pattern and practice of resistance,

  recalcitrance, and outright defiance of Court orders and Schoep’s discovery obligations. After

  refusing for more than a year to produce anything to Plaintiffs, Schoep did the minimum possible

  to attempt to avoid sanctions. Even then, the cellular phone that Schoep provided (which he

  admitted he had used to communicate regarding Unite the Right) was water-damaged, and its

  contents unrecoverable, because it had allegedly fallen in a toilet. Now, despite being in the

  possession of another electronic device containing unquestionably responsive documents—his

  new phone—Schoep, through his counsel, W. Edward ReBrook IV, has repeatedly refused to

  produce that device to Plaintiffs. Plaintiffs therefore respectfully request that the Court (1) compel

  Schoep to produce his new phone to the third-party discovery vendor (“the Vendor”) for imaging
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  and collection of responsive documents; (2) order the Vendor to produce immediately to Plaintiffs,

  without opportunity for Schoep’s review or review by his counsel, every document from his new

  phone that hits on a search term; and (3) order Schoep to pay Plaintiffs’ reasonable expenses

  incurred in bringing this motion, including reasonable attorneys’ fees and costs.1

         As Plaintiffs have described in detail in several prior motions involving Schoep and NSM,

  Schoep has, since Plaintiffs first served him with discovery requests in January 2018, done

  everything in his power to avoid complying with his discovery obligations—in fact, Schoep

  produced nothing at all until after Plaintiffs moved for sanctions against him. See Pls.’ Mot. to

  Compel Discovery from Def. National Socialist Movement, Mar. 11, 2020, ECF No. 674; Pls.’

  Mot. to Compel Def. National Socialist Movement to Disclose Custodians of Discoverable Docs.

  and Information, Sept. 3, 2019, ECF No. 547; Pls.’ Mot. for Rule 37 Sanctions Against Def. Jeff

  Schoep, Feb. 27, 2019, ECF No. 432. In their discovery requests, Plaintiffs requested, among

  other documents, “[a]ll Documents concerning the Events,” where “the Events” were defined as

  “the occurrences and activities described” in the Amended Complaint, including Unite the Right

  and the surrounding events on the weekend of August 11 and 12, 2017, in Charlottesville, Virginia.

  Pls.’ [Corrected] First Set of Reqs. for Produc. of Docs. to All Defs. 8, Jan. 25, 2018, ECF No.



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           Plaintiffs have twice agreed to withdraw prior requests for attorneys’ fees made in earlier
  motions filed against Schoep and NSM. See Order, Oct. 28, 2019, ECF No. 582 (“Plaintiffs’
  motion to compel, ECF No. 547, is GRANTED. Plaintiffs’ request for attorney’s fees is withdrawn
  per counsel’s representations at the status conference.”); Hr’g Tr. 10, Oct. 18, 2019, ECF No. 581
  (“MR. BLOCH: . . . Judge, we did – we also did request attorney’s fees. I think at this time – I
  spoke with Mr. ReBrook this morning. I do understand he is consenting and willing to make Mr.
  Colucci available for a deposition, which we appreciate. I think in light of that and the fact that
  our interest in this case is primarily to get the information and move this case along to trial, I think
  we can withdraw our request for attorney’s fees on that motion.”); Hr’g Tr. 22, April 26, 2019,
  ECF No. 487 (“THE COURT: . . . I know there have been – there have been requests for attorney’s
  fees. MR. BLOCH: Judge, I think – I think we would put that request on hold at this point and
  wait and see what we get from the defendants in the next seven days. THE COURT: I think that’s
  appropriate, so I will take the request for attorney’s fees under advisement.”).


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  432-1 (Request for Production No. 1). Plaintiffs also requested “[a]ll Documents concerning and

  all Communications concerning or with” various organizations, including “National Socialist

  Movement.”       Id. at 10 (Request for Production No. 3).       Plaintiffs further requested “[a]ll

  Documents concerning and all Communications concerning or with any Plaintiff or Defendant

  (other than You) named in the Amended Complaint, and any other Person who attended, planned

  or was involved in the Events.” Id. at 11 (Request for Production No. 6).

            In April 2018, Schoep provided written responses to Plaintiffs’ discovery requests, stating

  that “Mr. Schoep believes he can locate certain receipts and e-mails that are responsive however,

  he is not presently able to locate them. If located, they will be promptly provided to Plaintiffs. In

  addition there are numerous videos posted on nsm88.org that are responsive but, due to technical

  difficulties, cannot be turned over until the week of April 9, 2018.” Def. Jeff Schoep’s Resps. to

  [Pls.’] First Interrogs. and Reqs. for Produc. of Docs. 2, Apr. 6, 2018, ECF No. 475-04. Despite

  these responses identifying relevant documents within his possession, Schoep produced to

  Plaintiffs no documents. See id.

            Nearly a year later, in March 2019, in response to the motion for sanctions that Plaintiffs

  had filed against Schoep in February 2019, ECF No. 432, Schoep finally gave the Vendor access

  to a few personal email and social-media accounts and produced a cell phone, while disclosing for

  the first time that this phone had been rendered inoperable, and its contents rendered irretrievable,

  after it allegedly fell into a toilet. See Ex. A at 2 (Excerpt of iDS Vendor Report, Feb. 25, 2020)

  (“Vendor Report”); ECF No. 547 at 1; Ex. B at 2 (Schoep Email to Vendor, Mar. 7, 2019). A few

  months later, in May 2019, Schoep also produced a laptop computer to the Vendor. See Vendor

  Report.




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           In March 2019, while continuing to drag his heels in discovery, Schoep stated in a press

  release to NSM’s members that he had retired from his position as “Commander” of NSM and

  appointed Burt Colucci as NSM’s new Commander. Press Release, Nat’l Socialist Movement,

  Setting the Record Straight (Mar. 6, 2019), https://www.nsm88.org/press/nsm-JS_press-

  release_march_6_2019.htm. In August 2019, Schoep asserted that he had not just left NSM, but

  severed his ties with the white-supremacist movement. Schoep wrote on his website that he had

  “retired from the NSM and walked away from the movement in its entirety” and that he was

  devoting himself to be a “positive, peaceful influence of change and understanding”:

           For the first time, in over 25yrs, I was able to take time for self-reflection. It was
           during this time, I realized many of the principles I had once held so dearly and
           sacrificed so much for were wrong. . . .

           After wrestling with my conscience, over how to best set things right, I realized that
           I cannot just sit back while the world continues to burn in the flames of hatred.

           Instead of remaining silent, I have decided to speak out and help others. It is now
           my mission to be a positive, peaceful influence of change and understanding for all
           of humanity in these uncertain times.

  Who is Jeff Schoep?, Jeff Schoep, https://jeffschoep.com/about-jeffschoep (last visited Mar. 21,

  2020).

           In October 2019, ReBrook finally made a production of documents to Plaintiffs on

  Schoep’s behalf from among the email accounts, social-media accounts, and computer (though not

  the water-damaged phone) that the Vendor had collected and imaged. See Decl. of Jessica E.

  Phillips, Mar. 11, 2020, ECF No. 675 (“Phillips Decl.”); Vendor Report. From the more than

  22,000 files collected from Schoep’s computer and accounts that hit on agreed-upon search terms,

  ReBrook produced on Schoep’s behalf a mere 100 documents, including 43 unreadable gibberish

  files with no substance, 30 documents primarily comprising case filings and case-related

  correspondence, and 27 Google alert notifications. Phillips Decl. ¶¶ 3–6. Although Schoep had



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  previously stated that “there are numerous videos posted on nsm88.org that are responsive but,

  due to technical difficulties, cannot be turned over until the week of April 9, 2018,” ECF No. 475-

  04 at 3, Schoep’s production did not include any videos. On February 5, 2020, the deadline passed

  for Defendants, including Schoep, to produce all discoverable material to Plaintiffs. Order, Nov.

  27, 2019, ECF No. 597.

          On March 17, 2020, after Plaintiffs raised the deficiencies in Schoep’s production with

  ReBrook, ReBrook informed Plaintiffs that he would be producing another 382 documents on

  Schoep’s behalf that were previously coded as “Non Responsive,” as well as certain contents of

  the publicly available NSM88.org website. Ex. C at 3 (ReBrook Letter to Phillips, Mar. 17, 2020).

  Plaintiffs have not yet seen these documents. But even ReBrook acknowledged that the vast

  majority of Schoep’s productions, including these forthcoming documents, is non-responsive. See

  id. at 2–3 (“Majority of these emails were completely non responsive . . . . Out of all 2,146

  documents from the website only a handful are in actuality ‘Responsive’ to this case.”).

          As Schoep was producing this mere trickle of non-responsive documents, Plaintiffs became

  aware that Schoep was simultaneously sitting on a trove of other responsive and discoverable

  material. In December 2019, the current “Commander” of NSM, Colucci, sat for a deposition as

  the corporate representative of NSM in connection with NSM’s own discovery misconduct. See

  Tr. of Dep. of Burt Colucci, Dec. 10, 2019, ECF No. 674-5. As further described below, Colucci

  revealed that, while Schoep professes to have left NSM and renounced white supremacism

  entirely, Schoep has simultaneously remained in steady communication with Colucci throughout

  this litigation from his new phone, including making discoverable communications regarding

  topics relevant to this litigation.




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         At his deposition, Colucci explained at length that, although Schoep had turned over his

  allegedly water-damaged phone to the Vendor in March 2019, Schoep has since then

  communicated with Colucci via phone calls and text messages. Id. at 27–28, 107–09. Colucci

  testified that Schoep has communicated with him via phone “extensively” and “[a] lot” about this

  litigation. Id. at 25, 27. Colucci testified that these communications began in approximately

  November 2017, after an NSM rally in Shelbyville, Tennessee. Id. at 23, 25–26. When asked

  what topics Schoep discussed with Colucci from this new phone, Colucci replied, “He and I have

  discussed everything pretty much. . . . It’s too lengthy to mention everything, but we’ve spoken at

  length about this.” Id. at 26. For instance, Schoep and Colucci discussed Unite the Right, NSM’s

  participation in Unite the Right, the lawsuit, and James Hart Stern. Id. at 26, 30, 60, 66–67.2 When

  asked how frequently Schoep and Colucci discussed the litigation, Colucci replied that they spoke

  “more than” weekly and that it was not “a far stretch” to say that they spoke daily, “because [the

  communication] was very extensive.” Id. at 27. In fact, in October 2019, Schoep and Colucci

  were exchanging text messages approximately daily. Id. at 244 (“Q. . . . [I]n the time period that

  you’re texting here, in October of 2019, were you texting with Mr. Schoep every day at this point?

  A. It kind of looks that way.”).

         At his deposition in December 2019, Colucci testified that he had exchanged text messages

  with Schoep as recently as October 2019. Id. at 241–45; see id. at 30. Specifically, on October

  13, 2019, Schoep warned Colucci via text message that someone who was calling into Colucci’s

  podcast with death threats was “baiting” him. Id. at 242. Schoep warned Colucci, “Steer clear of




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             As described in detail in Plaintiffs’ March 11, 2020, Motion to Compel Discovery from
  Defendant National Socialist Movement, Stern was an African-American activist to whom Schoep
  attempted to transfer control of NSM specifically in order to avoid the mounting cost and potential
  liability of this litigation. See ECF No. 674 at 5–7.


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  falling in those traps, homey. They will try that kind of shit from time to time.” Id. The day

  before, Schoep had likewise advised Colucci to “let people know” that the same person calling

  into his podcast was an informant, and warned him, “Always assume informants are around. I

  would say you found one.” Id. at 243-245.

         All of these recent text messages, like all other communications between Schoep and

  Colucci, are discoverable and responsive to Plaintiffs’ discovery requests.      They constitute

  Schoep’s “[c]ommunications concerning or with . . . National Socialist Movement” as well as

  Schoep’s “[c]ommunications concerning or with any Plaintiff or Defendant” (namely, NSM,

  through its “Commander” and corporate representative, Colucci). ECF No. 432-1 at 10–11

  (Requests for Production Nos. 3 and 6). All of Schoep and Colucci’s communications specifically

  about Unite the Right further constitute “[d]ocuments and [c]ommunications concerning the

  Events.” ECF No. 432-1 at 9 (Request for Production No. 1). Yet Schoep never produced these

  communications to Plaintiffs and never turned over his phone containing these recent text

  messages to the Vendor for imaging.

         On December 11, 2019, the day after Colucci’s deposition, Plaintiffs promptly wrote to

  ReBrook and requested that ReBrook “[p]rovide to the third-party discovery vendor Mr. Schoep’s

  new phone with which he has been text messaging Mr. Colucci.” Phillips Email to ReBrook, Dec.

  11, 2019, ECF No. 674-36. On December 17, 2019, ReBrook refused, stating, without any citation

  to legal authority or to Plaintiffs’ discovery requests, “There is no reason why Mr. Schoep should

  provide his new phone to the third-party vendor for imaging when this was obtained well after

  Charlottesville and therefore would not contain any potentially relevant information in regards to

  this litigation.” ReBrook Email to Bloch, Dec. 17, 2019, ECF No. 674-37.




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         The Court has already rejected exactly this specious and legally incorrect argument more

  than a year ago. On March 18, 2019, the day that ReBrook announced himself as the new attorney

  for Schoep and NSM, Plaintiffs informed the Court during a telephonic hearing, with ReBrook in

  attendance, that certain Defendants had withheld certain social-media accounts and electronic

  devices on the ground “that they were created after the events in Charlottesville.” Hr’g Tr. 20,

  Mar. 18, 2019, ECF No. 455. The Court dismissed this argument, stating, “I’m sure that accounts

  created after August 2017 could hold responsive documents.” Id.3

         On March 11, 2020, Plaintiffs again requested that Schoep produce his new phone to the

  Vendor. Ex. D at 3–4 (Phillips Letter to ReBrook, Mar. 11, 2020). Plaintiffs clearly explained to

  ReBrook why the documents on Schoep’s phone were potentially responsive, and why the date on

  which Schoep acquired the phone was irrelevant:

                 You previously refused to produce this phone because, as you stated
                 in your email dated December 17, 2019, Mr. Schoep’s new phone
                 “was obtained well after Charlottesville and therefore would not
                 contain any potentially relevant information in regards to this
                 litigation.” However, Plaintiffs’ First Set of Requests for Production
                 of Documents explicitly request “[a]ll Documents and
                 Communications concerning the Events,” where “Events” are
                 defined to mean the occurrences and activities described in the
                 Complaint, as well as “[a]ll Documents concerning and all
                 Communications concerning or with any Plaintiff or Defendant
                 (other than You) named in the Amended Complaint, and any other
                 Person who attended, planned or was involved in the Events”
                 (emphasis added). Requests for Production Nos. 1, 6. Therefore, any
                 communications Mr. Schoep possesses with Mr. Colucci, regardless


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           Although the Court had already rejected ReBrook’s argument during this March 18, 2019,
  hearing, ReBrook nonetheless told Plaintiffs on April 9, 2019, citing no legal authority, “I believe
  that any request for electronic communications before the Unite the Right Rally was announced
  and after the Rally ended are irrelevant. Obviously, one cannot incite violence in the past.”
  ReBrook Email to Bloch 3, Apr. 9, 2019, ECF No. 547-8. Plaintiffs responded that same day,
  “[A]s Judge Hoppe has already recognized, given that this is a conspiracy case, any objection to
  producing documents from before the official announcement of the rally, or discussions post‐
  announcement, is meritless; documents and communications about the events at issue are highly
  relevant, whenever they were created.” Bloch Email to ReBrook 2, Apr. 9, 2019, ECF No. 547-8.


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                 of their date, are relevant and responsive to Plaintiffs’ requests.
                 Furthermore, you are required to supplement your responses in
                 accordance with Fed. R. Civ. P. 26(e). We therefore request that you
                 immediately produce Mr. Schoep’s new phone to the vendor.

  Id. at 4.

          ReBrook again refused. ReBrook did not engage with the merits of Plaintiffs’ letter,

  discuss any of the specific Requests for Production identified in that letter, acknowledge Schoep’s

  obligation to supplement his responses on an ongoing basis according to Rule 26(e) of the Federal

  Rules of Civil Procedure, or cite any legal authority. Instead, Schoep repeated the same erroneous

  contention that Schoep’s phone “would not contain any potentially relevant information”:

                 As stated previously, my client’s new phone was obtained well after
                 Charlottesville and therefore would not contain any potentially
                 relevant information in regards to this litigation. There is no need
                 for Mr. Schoep to produce his new phone as there is absolutely
                 nothing relevant or “potentially” responsive in regards to this
                 litigation contained on the device.

  Ex. C at 4.

          In making this repeated and legally meritless assertion, which the Court has already

  rejected, ReBrook has made abundantly clear his and Schoep’s intent to withhold Schoep’s phone,

  notwithstanding that it contains documents and communications responsive to Plaintiffs’

  discovery requests. Without the Court’s intervention, Plaintiffs will thus be left with no access to

  this substantial collection of relevant and discoverable evidence.

          Plaintiffs therefore respectfully request that the Court (1) compel Schoep to produce his

  new phone to the Vendor for imaging and collection of responsive documents, (2) order the Vendor

  to produce immediately to Plaintiffs, without opportunity for Schoep’s review or review by his

  counsel, every document from his new phone that hits on a search term; and (3) order Schoep to




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   pay Plaintiffs’ reasonable expenses incurred in bringing this motion, including reasonable

   attorneys’ fees and costs.



    Dated: March 27, 2020                        Respectfully submitted,

                                                 /s/ Robert T. Cahill
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                                         Counsel for Plaintiffs




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on March 27, 2020, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:

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          I further hereby certify that on March 27, 2020, I also served the following non-ECF
   participants, via electronic mail, as follows:

       Christopher Cantwell                      Vanguard America
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                                                 /s/ Robert T. Cahill
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                                                 Counsel for Plaintiffs
   “
